DOCUMENTS UNDER SEAL
                    Case 3:20-cr-00321-EMC Document 92 Filed 09/21/21 Page 13of 1
                                                         TOTAL TIME (m ins):
M AGISTRATE JUDGE                         DEPUTY CLERK                            REPORTER/DIGITAL RECORDING:
M INUTE ORDER                            Stephen Ybarra                           9:57 - 10:00
MAGISTRATE JUDGE                          DATE                                    NEW CASE          CASE NUMBER
Alex G. Tse                              September 21, 2021                                        3:20-cr-00321-EMC-3
                                                     APPEARANCES
DEFENDANT                                 AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
Joshua Stanka                                      N        P       Mark Stuart Goldrosen                 APPT.
U.S. ATTORNEY                             INTERPRETER                           FIN. AFFT              COUNSEL APPT'D
Colin Christopher Sampson                 n/a                                   SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR             PARTIAL PAYMENT
                            Jessica Portillo                        APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                          STATUS
                                                                                                            TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT              BOND HEARING           IA REV PROB. or           OTHER
                                                                                  or S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA           PROB. REVOC.               ATTY APPT
                                                                                                            HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                 NAME AS CHARGED             TRUE NAME:
        OF RIGHTS               OF CHARGES              IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED           ISSUED                    AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R             APPEARANCE BOND           $                                                   SURRENDERED
                                                                                                       DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                    REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                  DETAINED        RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                  GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT          OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                   STATUS RE:
                                 HEARING                  HEARING                CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY           CHANGE OF               STATUS
                                 AFFIDAVIT                 HEARING               PLEA
                                                           _____________
BEFORE HON.                      DETENTION                 ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                 HEARING                                                                  SENTENCING

       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL               CONFERENCE               HEARING
                                 3161                      HEARING
                                                ADDITIONAL PROCEEDINGS
This proceeding held via Zoom video conference. Defendant consents to proceed by video. Officer Portillo reports that
Defendant completed residential treatment and location monitoring has been terminated. AUSA does not object to the
termination of the location monitoring.
                                                                                       DOCUMENT NUMBER:
